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                    EXHIBIT 4
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                                   16661



                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, and JOHN DOE,

                        Plaintiffs,

 V,                                                             Civil Action No.: 3:l 7CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE
HOLDINGS, LLC, ROBERT "AZZMADOR"
RAY, NA THAN DAMI GO, ELLIOTT
KLINE a/k/a ELI MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DA YID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL "ENOCH" PEINOVICH, LOYAL
WHITE KNIGHTS OF THE KU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

                        Defendants.

             DEFENDANT FIELDS' ANSWERS TO PLAINTIFFS' SECOND SET OF
                 INTERROGATORIES TO ALL INDIVIDUAL DEFENDANTS

       COMES NOW Defendant JAMES ALEX FIELDS, JR. ("Fields"), by counsel, and for his

Answers to Plaintiffs' Second Interrogatories, states as follows:

        l.      Identify and Describe in Detail each Contact or Communication of any kind you had
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 with each one of the other Defendants between January 2017 and August 13, 2017, including the

 nature or content of the Contact or Conununication, where and when the Contact or Communication

 took place, and anyone else who participated in the Contact or Communication.

         ANSWER:         Fields read and liked or retweeted posts on Twitter, various websites, and

 social media prior to the Rally on his desktop computer and cell phone. Fields never received any

 direct communication from any other Defendant on social media. Fields recalls posting a direct

 message to David Duke, which was unreturned. He also posted a direct message to Richard

 Spencer, which was also unreturned. Fields does not recall the specific nature of his communication

 but recalls it related to inquiring about the Rally. Fields does not know all Defendants by face and

 name, but communicated verbally with individuals he believed to be members of Vanguard

 America at the rally. This Answer may be supplemented with more specific information regarding

 verbal communication at the Rally when additional information is available.



 2.      Identify all expenses You incurred in planning, organizing, or attending the Unite the Right

rally and the sources of funding and method of payment used to satisfy those expenses.

         ANSWER:        Fields drove overnight from Maumee, Ohio to Charlottesville, Virginia the

evening of August 11 and morning of August 12 aniving in Charlottesville an hour or two before

dawn. His only expense for attending the Rally was fuel for his vehicle. May supplement additional

specific information as to method of payment and location of gas stations. Fields incurred no

expenses for planning or organizing the Rally, as he did not participate in planning or organizing the

Rally.



3.       Identify and Describe in Detail each case in which You were charged in a Criminal Proceeding
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 that resulted in a conviction, whether state or federal, including for each such case: the full title of the

 action, court, docket number, a description of the allegations, the disposition, and the sentence.

         ANSWER:         This is public information as readily available to Plaintiffs as to Fields.

 Charlottesville Circuit Court, Virginia

         -   Commonwealth v. Fields, CR! 7000296-01 - Murder: 1st Degree - Tried to a jury and

             found guilty. Currently under appeal.

        -    Commonwealth v. Fields, CR! 7000296-02 - Malicious Wounding - Tried to a jury and

             found guilty. Currently under appeal.

             Commonwealth v. Fields, CR! 7000296-03 - Malicious Wounding - Tried to a jury and

             found guilty. Currently under appeal.

             Commonwealth v. Fields, CR! 7000296-04-Aggravated Malicious Wounding- Tried to

             a jury and found guilty. Currently under appeal.

             Commonwealth v. Fields, CR 17000296-05 - Failure to Stop at Accident involving Death

             - Tried to a jury and found guilty. Currently under appeal.

             Commonwealth v. Fields, CR! 7000296-06-Aggravated Malicious Wounding- Tried to

             a jury and found guilty. Currently under appeal.

             Commonwealth v. Fields, CR! 7000296-07 -Aggravated Malicious Wounding - Tried to

             a jury and found guilty. Currently under appeal.

             Commonwealth v. Fields, CR! 7000296-08 -Assault with Malice; Victim Injured- Tried

             to a jury and found guilty. Currently under appeal.

             Commonwealth v. Fields, CR 17000296-09 - Aggravated Malicious Wounding - Tried to

             a jury and found guilty. Currently under appeal.

        -    Commonwealth v. Fields, CR! 7000296-10 -Malicious Wounding -Tried to a jury and
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            found guilty. Currently under appeal.



 Western District of Virginia Federal District Court

            Case No. 3:18 CR 00011 (MFU)

            Fields was charged with 30 counts summarized as follows

                 o   Count I - Violation of 18 U.S.C. §249(a)(I) -Hate Crime Act resulting in Death

                 o   Counts 2 - 29 - Violation of 18 U.S.C. §249(a)(l)- Hate Crim Act Involving an

                     Attempt to Kill

                 o   Count 30 - Violation of 18 U.S.C. §245 - Bias Motivated Interference with

                     Federally Protected Activity Resulting in Death

            Pursuant to public record, Fields entered into a Plea Agreement wherein he pied guilty to

            Counts I - 29 in exchange for the dismissal of Count 30 and assurance that Capital

            Punishment would not be sought.




 4.     Identify each legal matter, whether federal, state, criminal, civil, administrative or otherwise,

 concerning the Events in which You have been or participated as a party or witness, including but

not limited to giving any testimony in depositions, hearings, trial or any other legal proceeding.

        ANSWER:         In addition to the above-referenced criminal matters and the present case,

Fields is a Defendant in the following civil lawsuits:

            Tadrint and Micah Washington v. Fields, et. al. - Charlottesville Circuit Court - CL! 7-

           442

           Jeanne Marie Peterson v. Fields and Vanguard America - Charlottesville Circuit Court
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             Case No. CL19-413

             Mahtab Jamalreza, et. al. v. Fields, et. al. - Charlottesville Circuit Court Case No. CL 19-

             410

             Chelsea Alvarado v. Fields- Fairfax Circuit Court - Case No. CL! 9-06387

             Susan Diane Bro, Admin of Estate of Heather Heyer v. Fields - Charlottesville Circuit

             Court - Case No. CL! 9-449

             Burke v. Fields, et al- U.S. Southern District of Ohio Federal Court (Columbus Division)

             - Case No. 3: 19-cv-00046.




 5.     Describe in detail any instance in which you Advertised or promoted the Unite the Right rally,

 whether online or otherwise, including where, when, how and for what period of time You displayed

 any Advertisement or Promotional Material and the content of such Advertisement or Promotional

 Material.

        ANSWER: Fields does not have access to his social media accounts and has not since

August 12, 2017. To the best of his recollection, Fields "liked" and/or "retweeted" a few posts of

others about the Rally. Otherwise, none.



6.      Identify each Communication concerning the Events that you had with each member of Law

Enforcement, whether before, after, or during the Events, including the name of the member of Law

Enforcement, when, where and how each Communication took place, and the nature or content of the

Communication.

        ANSWER: Fields asserts and relies upon his 5th Amendment Right of the US Constitution
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 against self-incrimination as to any communication with law enforcement after the Events.

 Otherwise, Fields did not communicate with law enforcement prior to the Rally concerning the

 Events and does not recall any specific conversation with any law enforcement officer during the

 Rally. He does recall generally overhearing announcements by law enforcement during the Rally

 declaring an unlawful assembly and instructing people to leave the area.



 7.     Identify each Communication concerning the Events You had with any Government Official,

 whether before, after or during the Events, including the name of the Government Official, when,

 where and how each Communication took place, and the nature or content of each Communication.

        ANSWER: : Fields asserts and relies upon his 5th Amendment Right of the US Constitution

 against self-incrimination as to any communication with any Government Official after the Events.

 Otherwise, Fields did not communicate with Government Official prior to the Rally concerning

 the Events and does not recall any specific conversation with any Government Official during the

 Rally. He does recall generally overhearing announcements by law enforcement during the Rally

 declaring an unlawful assembly and instructing people to leave the area



 8.     Identify each Communication concerning the Events You had with any School Official,

whether before after or during the Events, including the name of the School Official, when, where

and how each Communication took place and the nature or content of that Communication.

        ANSWER: None.



9.      Describe any relationship You have had from January 1, 20 I 7 to the present with any of the

Entity Defendants, including any titles, affiliations, positions, or roles You had held with any of those
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 organizations, the responsibilities with each such title, affiliation, position, or role, and any

 responsibilities you had within any of the organizations that were not associated with any title,

 affiliation, position or role.

         ANSWER: None.



 I 0.    For each Act of Violence perpetrated by or against a Defendant or a Plaintiff, identify and

 describe in Detail each such Act of Violence, where and when such Act of Violence took place, who

 was involved in such Act of Violence, the nature of the Act of Violence, and any person known to

 you to have firsthand knowledge such Act of Violence.

         ANSWER: : Fields asserts and relies upon his 5th Amendment Right of the US Constitution

 against self-incrimination as to any Act of Violence in which he was allegedly involved.


                                                      Respectfully submitted,

                                                      JAMES ALEX FIELDS



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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this ) ~day of February, 2020, I provided copies of the foregoing
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